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                                                                                U.S. PageID   290
                                                                                     DISTRICT COURT
                                                                             NORTHERN DISTRICT OF TEXAS
                                                                                         FILED
                      IN THE UNITED STATES DISTRICT C URT
                           NORTHERN DISTRICT OF TEXAS
                                                                                   JAN 1 5 2019
                               FORT WORTH DIVISION
                                                                             CLERK, U.S. DISTRICT COURT
LA'SHADION SHEMWELL,                             §
                                                                                B~--'"il::=--­
                                                                                     beputy
                                                 §
              Plaintiff,                         §
                                                 §
vs.                                              §    NO. 4:18-CV-474-A
                                                 §
JACOB CANNON,       INDIVIDUALLY,                §
ET AL.,                                          §
                                                 §
             Defendants.                         §


                           MEMORANDUM OPINION AND ORDER

      Came on for consideration the motions of defendants City of

Arlington ("City") and Jacob Cannon ("Cannon")                           to dismiss. The

court, having considered the motions, the responses of plaintiff,

La'Shadion Shemwell, the reply of Cannon, the record, and

applicable authorities,             finds that the motions should be granted.

                                                I.

                                         Background

      On June 10, 2018, plaintiff filed his complaint in this

action. Doc.i 1. In it, plaintiff alleges:

      On June 10, 2016, plaintiff participated in a rally/protest

in response to a grand jury decision not to indict an Arlington

police officer who had shot and killed a black college student.

Doc. 1, ,    10. Plaintiff appeared at the rally with his AK-15

rifle.    Id. ,   11. Protesters marched from Arlington Police



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      The "Doc._" reference is to the number of the item on the docket in this action.
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headquarters into the Levitt Pavilion, where a concert was

ongoing. Id. , , 11-12. Plaintiff approached the stage and spoke

to performers, who allowed the protesters to use their platform.

Id. , 12. As the protesters were leaving, an officer requested

that plaintiff "sling• or reposition his rifle. Plaintiff

refused. Id. , 13. Officers handcuffed plaintiff without incident

and put him in a squad car. Id. , 16. Officers drove plaintiff to

jail. Id. ,   17. Plaintiff was booked and charged with disorderly

conduct and resisting arrest. Id. , 18. Plaintiff went to trial

on September 26, 2016, but the case ended in a mistrial. Id.

, 20. Plaintiff went to trial a second time on November 1, 2016,

and was acquitted. Id. , 21.

     Plaintiff asserts claims under 42 U.S.C.         §   1983 against

Cannon for false arrest (Count I) and malicious prosecution

(Count III), and against City for failure to train, supervise,

and discipline (Count II) and false arrest          (Count III). He also

asserts state law claims for malicious prosecution (Count IV) ,

negligence (second Count IV), gross negligence (Count V), assault

and battery (Count VI), and intentional infliction of emotional

distress   (Count VII) against Cannon.

     By order signed June 22, 2018, the court struck the

provision of the complaint naming "Police Officer Does 1-5" and

ordered that plaintiff could seek leave to amend his complaint in


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the event he was able to identify any of the unnamed officers.

Doc. 10. He has not done so.

     By order signed September 10, 2018, the court noted that

there was no record in the file of the action of proper service

of summons and complaint on defendants, City, Cannon, and Sharen

Wilson ("Wilson"). Doc. 11. In fact, summonses had not been

issued. The court ordered that plaintiff file by September 20,

2018, either proof of proper service or an instrument containing

a satisfactory explanation as to why such proof could not be

filed. The order cautioned that failure to comply with the order

might result in the dismissal of plaintiff's claims without

further notice, as authorized by Fed. R. Civ. P. 4(m). Id. The

record reflects that summonses for defendants were issued the

next day. Doc. 12.

     Wilson filed a motion to dismiss, Doc. 13, which the court

granted. Doc. 32. The court directed entry of final judgment as

to the dismissal of the claims against Wilson and there has been

no appeal therefrom. Doc. 33.

                                   II.

                        Grounds of the Motions

     Cannon maintains that plaintiff's claims are barred by

limitations.   In addition, he asserts among other things that

plaintiff has failed to allege any plausible causes of action,


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and, even if he has, Cannon is entitled to both qualified and

official immunity.

        City urges that plaintiff has not alleged facts sufficient

to identify any custom or policy that caused him harm. Further,

the malicious prosecution claim as pleaded by plaintiff does not

state a plausible claim for relief.'

                                                     III.

                                  Applicable Legal Principles

A.      Pleading

        Rule 8 (a) (2) of the Federal Rules of civil Procedure

provides,          in a general way, the applicable standard of pleading.

It requires that a complaint contain "a short and plain statement

of the claim showing that the pleader is entitled to relief,"

Fed. R. Civ. P. B(a) (2),                   "in order to give the defendant fair

notice of what the claim is and the grounds upon which it rests,"

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555                                   (2007)      (internal

quotation marks and ellipsis omitted) . Although a complaint need

not contain detailed factual allegations, the "showing"

contemplated by Rule 8 requires the plaintiff to do more than

simply allege legal conclusions or recite the elements of a cause

of action. Twombly, 550 U.S. at 555 & n.3. Thus, while a court



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           City notes that it was not timely served, but does not urge this as a ground for relief. Doc. 16 at
2.

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must accept all of the factual allegations in the complaint as

true, it need not credit bare legal conclusions that are

unsupported by any factual underpinnings. See Ashcroft v. Iqbal,

556 U.S. 662, 679 (2009)     ("While legal conclusions can provide

the framework of a complaint, they must be supported by factual

allegations.")

     Moreover, to survive a motion to dismiss for failure to

state a claim, the facts pleaded must allow the court to infer

that the plaintiff's right to relief is plausible. Iqbal, 556

U.S. at 678. To allege a plausible right to relief, the facts

pleaded must suggest liability; allegations that are merely

consistent with unlawful conduct are insufficient. Id. In other

words, where the facts pleaded do no more than permit the court

to infer the possibility of misconduct, the complaint has not

shown that the pleader is entitled to relief. Id. at 679.

"Determining whether a complaint states a plausible claim for

relief .         [is] a context-specific task that requires the

reviewing court to draw on its judicial experience and common

sense."    Id.

     As the Fifth Circuit has explained: "Where the complaint is

devoid of facts that would put the defendant on notice as to what

conduct supports the claims, the complaint fails to satisfy the

requirement of notice pleading." Anderson v. U.S. Dep't of


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Housing & Urban Dev., 554 F.3d 525, 528                         (5th Cir. 2008). In sum,

"a complaint must do more than name laws that may have been

violated by the defendant; it must also allege facts regarding

what conduct violated those laws. In other words, a complaint

must put the defendant on notice as to what conduct is being

called for defense in a court of law." Id. at 528-29. Further,

the complaint must specify the acts of the defendants

individually, not collectively, to meet the pleading standards of

Rule 8(a) . 3 See Griggs v. State Farm Lloyds, 181 F.3d 694, 699

 (5th Cir. 1999); see also Searcy v. Knight                         (In re Am. Int'l

Refinery), 402 B.R. 728, 738 (Bankr. W.D. La. 2008).

B.      Qualified Immunity

        Qualified immunity insulates a government official from

civil damages liability when the official's actions do not

"violate clearly established statutory or constitutional rights

of which a reasonable person would have known."                              Harlow v.

Fitzgerald, 457 U.S. 800, 818 (1982).                        For a right to be "clearly

established," the right's contours must be "sufficiently clear

that a reasonable official would understand that what he is doing

violates that right." Anderson v. Creighton, 483 U.S. 635, 640

(1987) . Individual liability thus turns on the objective legal



        'Plaintiff does not allege any facts with regard to the conduct of any specific officer.
Nevertheless, Cannon does not move to dismiss on this basis and appears to acknowledge that he was the
officer who arrested plaintiff. Doc. 20.

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reasonableness of the defendant's actions assessed in light of

clearly established law at the time. Hunter v. Bryant, 502 U.S.

224, 228   (1991); Anderson, 483 U.S. at 639-40. In Harlow, the

court explained that a key question is "whether that law was

clearly established at the time an action occurred" because "[i]f

the law at that time was not clearly established, an official

could not reasonably be expected to anticipate subsequent legal

developments, nor could he fairly be said to 'know' that the law

forbade conduct not previously identified as unlawful." 457 U.S.

at 818. In assessing whether the law was clearly established at

the time, the court is to consider all relevant legal authority,

whether cited by the parties or not. Elder v. Holloway, 510 U.S.

510, 512   (1994). If public officials of reasonable competence

could differ on the lawfulness of defendant's actions, the

defendant is entitled to qualified immunity. Mullenix v. Luna,

136 S. Ct. 305, 308 (2015); Malley v. Briggs, 475 U.S. 335, 341

(1986); Fraire v. City of Arlington, 957 F.2d 1268, 1273 (5th

Cir. 1992). '' [A]n allegation of malice is not sufficient to

defeat immunity if the defendant acted in an objectively

reasonable manner."    Malley, 475 U.S. at 341.

     In analyzing whether an individual defendant is entitled to

qualified immunity, the court considers whether plaintiff has

alleged any violation of a clearly established right, and, if so,


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whether the individual defendant's conduct was objectively

reasonable. Siegert v. Gilley, 500 U.S. 226, 231 (1991); Duckett

v. City of Cedar Park, 950 F.2d 272, 276-80 (5th Cir. 1992). In

so doing, the court should not assume that plaintiff has stated a

claim, i.e., asserted a violation of a constitutional right.

Siegert, 500 U.S. at 232. Rather, the court must be certain that,

if the facts alleged by plaintiff are true, a violation has

clearly occurred.    Connelly v. Comptroller, 876 F.2d 1209, 1212

(5th Cir. 1989). A mistake in judgment does not cause an officer

to lose his qualified immunity defense. In Hunter, the Supreme

Court explained:

     The qualified immunity standard "gives ample room for
     mistaken judgments" by protecting "all but the plainly
     incompetent or those who knowingly violate the law."
     Malley, [475 U.S.] at 343.        This accommodation for
     reasonable error exists because "officials should not err
     always on the side of caution" because they fear being sued.


502 U.S. at 229.

     When a defendant relies on qualified immunity, the burden is

on the plaintiff to negate the defense. Kovacic v. Villarreal,

628 F.3d 209, 211 (5th Cir. 2010); Foster v. City of Lake

Jackson, 28 F.3d 425, 428 (5th Cir. 1994). Although Supreme Court

precedent does not require a case directly on point, existing

precedent must place the statutory or constitutional question

beyond debate. White v. Pauly, 137 S. Ct. 548, 551 (2017). That


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is, the clearly established law upon which plaintiff relies

should not be defined at a high level of generality, but must be

particularized to the facts of the case. Id. at 552. Thus, the

failure to identify a case where an officer acting under similar

circumstances was held to have violated a plaintiff's rights will

most likely defeat the plaintiff's ability to overcome a

qualified immunity defense. Id.; Surratt v Mcclarin, 851 F.3d

389, 392      (5th Cir. 2017).

C.      Municipal Liability

        The law is clearly established that the doctrine of

respondent superior does not apply to         §   1983 actions. Monell v.

New York City Dep•t of Soc. Servs., 436 U.S. 658, 691 (1978);

Williams v. Luna, 909 F.2d 121, 123         (5th Cir. 1990). Liability

may be imposed against a governmental entity only if the

governmental body itself subjects a person to a deprivation of

rights or causes a person to be subjected to such deprivation.

Connick v. Thompson, 563 U.S. 51, 60 (2011). Local governments

are responsible only for their own illegal acts. Id.             (quoting

Pembaur v. Cincinnati, 475 U.S. 469, 479 (1986)). Thus,

plaintiffs who seek to impose liability on local governments

under    §   1983 must prove that action pursuant to official

municipal policy caused their injury. Monell, 436 U.S. at 691.

Specifically, there must be an affirmative link between the

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policy and the particular constitutional violation alleged. City

of Oklahoma City v. Tuttle, 471 U.S. 808, 823          (1985).

     Proof of a single incident of unconstitutional activity is

not sufficient to impose liability, unless proof of the incident

includes proof that it was caused by an existing,

unconstitutional policy, which policy can be attributed to a

municipal policymaker. Tuttle, 471 U.S. at 823-24.          (If the policy

itself is not unconstitutional, considerably more proof than a

single incident will be necessary to establish both the requisite

fault and the causal connection between the policy and the

constitutional deprivation. Id. at 824.) Thus, to establish

governmental liability requires proof of three elements: a

policymaker, an official policy, and a violation of

constitutional rights whose moving force is the policy or custom.

Piotrowski v. City of Houston, 237 F.3d 567, 578 (5th Cir. 2001).

      The Fifth Circuit has been explicit in its definition of an

•official policy• that can lead to liability on the part of a

governmental entity, giving the following explanation in an

opinion issued en bane in response to a motion for rehearing in

Bennett v. City of Slidell:

     1. A policy statement, ordinance, regulation, or
     decision that is officially adopted and promulgated by
     the municipality's lawmaking officers or by an official
     to whom the lawmakers have delegated policy-making
     authority; or

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     2. A persistent, widespread practice of city officials
     or employees, which, although not authorized by
     officially adopted and promulgated policy, is so common
     and well settled as to constitute a custom that fairly
     represents municipal policy. Actual or constructive
     knowledge of such custom must be attributable to the
     governing body of the municipality or to an official to
     whom that body had delegated policy-making authority.

     Actions of officers or employees of a municipality do
     not render the municipality liable under § 1983 unless
     they execute official policy as above defined.

735 F.2d 861, 862    (5th Cir. 1984)     (per curiam).

     "A municipality's culpability for a deprivation of rights is

at its most tenuous where a claim turns on a failure to train."

Connick, 563 U.S. at 61.      The failure to train must constitute

"deliberate indifference to the rights of persons with whom the

[untrained employees] come into contact."           Id.   (brackets in

original)   (citation omitted).     To establish deliberate

indifference for a failure to train ordinarily requires the

plaintiff to show a pattern of similar constitutional violations.

Id. at 62. In other words, the plaintiff must show that City's

policymakers were on actual or constructive notice that a

particular omission in their training program caused City

employees to violate citizens' constitutional rights, but City

chose to disregard the known or obvious consequences of its

program. Id.




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D.      Texas Tort Claims Act

        Under the doctrine of sovereign immunity, a governmental

entity cannot be held liable for the actions of its employees

unless a constitutional or statutory provision waives the

entity's sovereign immunity in clear and unambiguous language.

See     Univ. of Tex. Med. Branch v. York, 871 S.W.2d 175, 177

(Tex.1994); Duhart v. State, 610 S.W.2d 740, 742             (Tex.1980). The

Texas Tort Claims Act provides such a waiver in certain

circumstances. Tex. Civ. Prac. & Rem. Code § 101.025; York, 871

S.W.2d at 177. However, the Act does not waive immunity with

respect to claims       ~arising   out of assault, battery, false

imprisonment, or any other intentional tort." Tex. Civ. Prac. &

Rem. Code§ 101.057(2); see Goodman v. Harris County, 571 F.3d

388, 394     (5th Cir. 2009). Claims of assault, battery, false

imprisonment, and malicious prosecution are unquestionably

intentional torts for which immunity has not been waived. Tex.

Civ. Prac. & Rem. Code§ 101.057(2); Goodman v. Harris Cnty., 571

F.3d 388, 394      (5th Cir. 2009); Texas Dep't of Pub. Safety v.

Petta, 44 S.W.3d 575, 580          (Tex. 2001). Use of excessive force is

an intentional tort and an alternative negligence pleading cannot

save the claim where the claim is based on the same conduct as

the intentional tort claim. Saenz v. City of El Paso, 637 F.

App'x 828, 830-31 (5th Cir. 2016); Cox v. City of Fort Worth, 762

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F. Supp. 2d 926,            935   (N.D. Tex. 2010). Moreover, by suing a

governmental entity, the plaintiff makes an irrevocable election

to pursue state law tort claims against the entity only. Molina

v. Alvarado, 463 S.W.3d 867, 871                       (Tex. 2015); Tex. Civ. Prac. &

Rem. Code§ 101.106(a).

                                                  IV.

                                              Analysis

A.      Claims Against Cannon

        1.      Limitations

        Cannon maintains that the claims against him are barred by

limitations. Plaintiff does not dispute that a two-year

limitations period applies to all of his claims or that the

claims accrued on the date of his arrest.' Doc. 41 at 11. He

argues that he used continuous diligence to serve Cannon. And, he

maintains that because he complied with the court's order of

September 10, 2018 regarding service, his claims are not barred.

        When a federal court borrows the state statute of

limitations, it also borrows the state's tolling provisions.

Board of Regents of Univ. of State of N.Y. v. Tomanio, 446 U.S.

478, 483       (1980); Echols v. Strickland, 92 F.R.D. 75, 76 (S.D.



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         The limitations period for§ 1983 actions is borrowed from Texas's personal injury limitations
period, which is two years. Jacobsen v. Osborne, 133 F.3d 315, 319 (5th Cir. 1998); Moore v. McDonald,
30 F.3d 616, 620 (5th Cir. 1994). Plaintiff's state law malicious prosecution claim is subject to a one-
ycar limitations period. Tex. Civ. Prac. & Rem. Code§ 16.002(a).

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Tex. 1981). In order to interrupt the running of limitations in

Texas, the plaintiff must exercise continuous diligence in

procuring and serving citation. Ellis v. Great Sw. Corp.,           646

F.2d 1099, 1112-13    (5th Cir. Unit A 1981). "It is absolutely

clear .    . under Texas law [that]      'the mere filing of a suit

will not interrupt or toll the running of a statute of

limitations.'" Id. at 1112     (quoting Zale Corp. v. Rosenbaum,          520

S.W.2d 889, 890    (Tex. 1975)).

     Compliance with Rule 4 of the Federal Rules of Civil

Procedure has no bearing on whether limitations has run. Paredes

v. City of Odessa, 128 F. Supp. 2d 1009, 1016-17 (W.D. Tex.

2000). Thus, that plaintiff complied with the court's September

10 order does not mean that his claims are timely. Rather, that

plaintiff did not request issuance of summonses when the action

was filed and did not do so for more than ninety days thereafter

is evidence of lack of diligence. See Mauricio v. Castro, 287

S.W.3d 476, 480   (Tex. App.--Dallas 2009, no pet.); Rodriguez v.

Tinsman & Houser, Inc., 13 S.W.3d 47, 50 (Tex. App.--San Antonio

1999, pet. denied).




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        Based on the foregoing authorities and the excuses 5 offered

by plaintiff, it does not appear that either defendant                                      (City or

Cannon) was timely served.' Nevertheless, the issue of the

reasonableness of delay is a fact question better addressed by

motion for summary judgment. See Ellis, 646 F.2d at 1113; Slagle

v. Prickett, 345 S.W.3d 693                    (Tex. App.--El Paso 2011, no pet.).

        2.       Qualified Immunity

        As stated, plaintiff asserts claims against Cannon under

§   1983 for false arrest (Count I) and malicious prosecution

 (Count III). Plaintiff does not dispute that a claim cannot be

brought under          §   1983 under a malicious prosecution theory. Cuadra

v. Houston Indep. Sch. Dist., 626 F.3d 808, 812-13 (5th Cir.

2010); Haggerty v. Texas S. Univ., 391 F.3d 653, 658                                    (5th Cir.

2004); Castellano v. Fragozo, 352 F.3d 939 (5th Cir. 2003).

Accordingly, count III must be dismissed.

        In count I, plaintiff alleges that his arrest was

objectively unreasonable and performed in bad faith. Further, he

did not commit a crime,                 "as the evidence showed during trial."

Doc. 1, ,, 23-24. The issue, however, is whether Cannon had


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         Among the excuses offered by plaintiff is that he was unable to determine whether Cannon was
still employed by City. Doc. 41 at 13. However, plaintiff alleged in his complaint that Cannon was a
commissioned peace officer who could be served at his place of employment, police department
headquatiers in Arlington. Doc. 1, 1[ 3.

        'Although plaintiff had no reason to address the failure to serve City, there can have been no
question about accomplishing service on it.

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probable cause to believe that plaintiff had committed a crime.

Cannon is entitled to qualified immunity if a reasonable officer

in his position could have believed that, in light of the

totality of the facts and circumstances of which he was aware,

there was a fair probability that plaintiff had committed or was

committing an offense. Haggerty, 391 F.3d at 656. To defeat

Cannon's qualified immunity, plaintiff "must clear a significant

hurdle." Id. He must show that there is not even arguably

probable cause for the arrest in order for immunity to be lost.

Id.

       The detention of a person requires only a minimal level of

objective justification. United States v. Sokolow, 490 U.S. 1, 7

(1989). Reasonable suspicion is enough. Terry v. Ohio, 392 U.S.

1, 21 (1968). And, the existence of probable cause for any

offense, including one not charged, is sufficient to defeat a

§   1983 false arrest claim. Devenpeck v. Alford, 543 U.S. 146,

153-54 (2004).

       Here, plaintiff alleges that while marching around carrying

an AK-15 rifle--a military-style semi-automatic firearm--he

entered an outdoor venue where a concert was on-going, approached

the stage, interrupting the concert, and asked to make a

presentation. When officers asked plaintiff to reposition his

rifle or sling it, he refused. Unidentified officers removed

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plaintiff's rifle from him and handcuffed him. He was arrested

and ultimately went to trial twice on disorderly conduct charges.

Under the Texas Penal Code, disorderly conduct can include making

an offensive gesture or display in a public place which tends to

incite an immediate breach of the peace, Tex. Penal Code

§   42.0l(a) (2), displaying a firearm in a public place in a manner

calculated to alarm, Tex. Penal Code         §   42.0l(a) (8), and

obstructing or interfering with a lawful meeting, procession, or

gathering by physical action or verbal utterance, Tex. Penal Code

§   42.0S(a).

       Here, plaintiff does not allege facts sufficient to negate

the existence of probable cause. That is, he has not shown that

no reasonable officer would have believed, based on the totality

of the facts and circumstances, that plaintiff had committed or

was committing a crime. Nor has he come forward with any case

where an officer acting under similar circumstances as Cannon was

held to have violated the Fourth Amendment by detaining or

arresting a person similarly-situated to plaintiff. Wesby, 138 S.

Ct. at 590; White, 137 S. Ct. 551-52; Vann v. City of Southaven,

884 F.3d 307, 310 (5th Cir. 2018). Accordingly, count I of the

complaint will be dismissed.




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     3.    State Law Claims

     Cannon argues that all of the state law claims against him

must be dismissed pursuant to Tex. Civ. Prac. & Rem. Code

§ 101.106(a),   (e), and (f). Plaintiff responds only wit~ regard

to his claims for malicious prosecution and assault and battery.

Doc. 41 at 21-22. In count IV, plaintiff asserts a state law

claim of malicious prosecution, which he describes as "Texas

State Law Claim Against Defendant Officers." Doc. 1, heading

preceding, 52. However, the next paragraph incorporates by

reference all preceding paragraphs including the allegations that

City engaged in the malicious prosecution of plaintiff. Id. , 52.

The same is true of count VI, in which plaintiff asserts a claim

for assault and battery against Cannon. He specifically alleges

that City is liable. Doc. 1, , 72. The court further notes that

the complaint makes plain that Cannon was acting in the course

and scope of his employment for City at all times. Id., , 7.

Having elected to sue City for malicious prosecution, and alleged

that Cannon acted in his official capacity with regard to all the

claims against him, plaintiff cannot also sue Cannon

individually. Tex. Civ. Prac. & Rem. Code§ 101.106(a),            (e), and

(f). Bustos v. Martini Club, Inc., 599 F.3d 458, 463-64           (5th Cir.

2010).




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        With regard to count VI, the court notes, in any event, that

plaintiff has not pleaded any facts to state an assault and

battery charge against Cannon. He pleads no facts to show that

the amount of force used in handcuffing him was not reasonable.

Rather, he pleads that he was handcuffed without incident. Doc.

1, , 16. Thus, Cannon would be entitled to official immunity. See

Telthorster v. Tennell, 92 S.W.3d 457, 461 (Tex. 2002) (an officer

is entitled to official immunity if a reasonably prudent officer

acting under the same or similar circumstances could have

believed his actions were appropriate) .

        Finally, as Cannon points out, intentional infliction of

emotional distress is a gap-filler tort,          judicially created for

the limited purpose of allowing recovery in those rare instances

where a defendant intentionally inflicts severe emotional

distress in a manner so unusual that the victim has no other

recognized theory of redress. Hoffman-LaRoche,            Inc. v.

Zeltwanger, 144 S.W.3d 438, 447 (Tex. 2004). This is simply not

such a case based on the facts pleaded by plaintiff.

B.      Claims Against City

        City maintains that plaintiff has failed to identify any

policy or practice that caused his alleged harm. The court

agrees. Despite his argument to the contrary, plaintiff has

alleged nothing but boilerplate accusations, which his own

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authorities say is insufficient. See Thomas v. City of Galveston,

800 F. Supp. 2d 826, 842-43         (S.D. Tex. 2011). The court is not

bound to accept as true legal conclusions couched as factual

allegations. Papasan v. Allain, 478 U.S. 265, 286             (1986).

Plaintiff has not alleged facts sufficient to state a claim

against City under any theory.

C.      Amendment Would Not Be Appropriate

        At the conclusion of his responses to each motion, plaintiff

includes a short two-sentence paragraph saying that "the court

should generally give the plaintiff at least one chance to

amend." Doc. 34 at 20; Doc. 41 at 23. Plaintiff has not sought

leave to amend. See Local Civil Rule LR 15.1. Nor does he

represent that he could plead facts sufficient to state a claim.

In fact,     as movants have noted, plaintiff's own pleading supports

the existence of probable cause for his arrest.             (That is,

plaintiff marched into an ongoing outdoor concert with an AK-15

rifle held in his hands, refusing to sling or reposition it when

requested. Based on these facts, a reasonable police officer

could have believed that plaintiff intentionally or knowingly

displayed a firearm in a public place in a manner calculated to

alarm.) The court has no reason to believe that amendment would

not be futile.




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                                   v.

                                  Order

     The court ORDERS that the motions to dismiss be, and are

hereby, granted, and plaintiff's claims against City and Cannon

be, and are hereby, dismissed.

     SIGNED January 15, 2019.
                                          ,,/



                                                             Judge




                                   21
